
Justice Kennedy
delivered the opinion of the Court.
“[T]he Eighth Amendment prohibits a State from carrying out a sentence of death upon a prisoner who is insane.” Ford v. Wainwright, 477 U. S. 399, 409-410 (1986). The prohibition applies despite a prisoner’s earlier competency to be held responsible for committing a crime and to be tried for it. Prior findings of competency do not foreclose a prisoner from proving he is incompetent to be executed because of his present mental condition. Under Ford, oncé a prisoner makes the requisite preliminary showing that his current mental state would bar his execution, the Eighth Amend*935ment, applicable to the States under the Due Process Clause of the Fourteenth Amendment, entitles him to an adjudication to determine his condition. These determinations are governed by the substantive federal baseline for competency set down in Ford.
Scott Louis Panetti, referred to here as petitioner, was convicted and sentenced to death in a Texas state court. After the state trial court set an execution date, petitioner made a substantial showing he was not competent to be executed. The state court rejected his claim of incompeteney on the merits. Filing a petition for writ of habeas corpus in the United States District Court for the Western District of Texas, petitioner claimed again that his mental condition barred his execution; that the Eighth Amendment set forth a substantive standard for competency different from the one advanced by the State; and that prior state-court proceedings on the issue were insufficient to satisfy the procedural requirements mandated by Ford. The State denied these assertions and argued, in addition, that the federal courts lacked jurisdiction to hear petitioner’s claims.
We conclude we have statutory authority to adjudicate the claims petitioner raises in his habeas application; we find the state court failed to provide the procedures to which petitioner was entitled under the Constitution; and we determine that the federal appellate court employed an improperly restrictive test when it considered petitioner’s claim of incompeteney on the merits. We therefore reverse the judgment of the Court of Appeals for the Fifth Circuit and remand the case for further consideration.
I
On a morning in 1992 petitioner awoke before dawn, dressed in camouflage, and drove to the home of his estranged wife’s parents. Breaking the front-door lock, he entered the house and, in front of his wife and daughter, shot and killed his wife’s mother and father. He took his wife *936and daughter hostage for the night before surrendering to police.
Tried for capital murder in 1995, petitioner sought to represent himself. The court ordered a psychiatric evaluation, which indicated that petitioner suffered from a fragmented personality, delusions, and • hallucinations. 1 App. 9-14. The evaluation noted that petitioner had been hospitalized numerous times for these disorders. Id., at 10; see also id., at 222. Evidence later revealed that doctors had prescribed medication for petitioner’s mental disorders that, in the opinion of one expert, would be difficult for a person not suffering from extreme psychosis even to tolerate. See id., at 233 (“I can’t imagine anybody getting that dose waking up for two to three days. You cannot take that kind of medication if you are close to normal without absolutely being put out”). Petitioner’s wife described one psychotic episode in a petition she filed in 1986 seeking extraordinary relief from the Texas state courts. See id., at 38-40. She explained that petitioner had become convinced the devil had possessed their home and that, in an effort to cleanse their surroundings, petitioner had buried a number of valuables next to the house and engaged in other rituals. Id., at 39. Petitioner nevertheless was found competent to be tried and to waive counsel. At trial he claimed he was not guilty by reason of insanity.
During his trial petitioner engaged in behavior later described by his standby counsel as “bizarre,” “scary,” and “trance-like.” Id., at 26, 21, 22. According to the attorney, petitioner’s behavior both in private and in front of the jury made it evident that he was suffering from “mental incompetence,” id., at 26; see also id., at 22-23, and the net effeet of this dynamic was to render the trial “truly a judicial farce, and a mockery of self-representation,” id., at 26. There was evidence on the record, moreover, to indicate that petitioner had stopped taking his antipsychotic medication a few months before trial, see id., at 339,345, a rejection of medical *937advice that, it appears, petitioner has continued to this day with one brief exception, see Brief for Petitioner 16-17. According to expert testimony, failing to take this medication tends to exacerbate the underlying mental dysfunction. See id., at 16, 18, n. 12; see also 1 App. 195, 228. And it is uneontested that, less than two months after petitioner was sentenced to death, the state trial court found him incompetent to waive the appointment of state habeas counsel. See Brief for Petitioner 15, n. 10. It appears, therefore, that petitioner’s condition has only worsened since the start of trial.
The jury found petitioner guilty of capital murder and sentenced him to death. Petitioner challenged his conviction and sentence both on direct appeal and through state habeas proceedings. The Texas courts denied his requests for relief. See Panetti v. State, No. 72,230 (Crim. App., Dec. 3, 1997) (en banc); Ex parte Panetti, No. 37,145-01 (Crim. App., May 20,1998) (en banc). This Court twice denied a petition for certiorari. Panetti v. Texas, 525 U. S. 848 (1998); Panetti v. Texas, 524 U. S. 914 (1998).
Petitioner filed a petition for writ of habeas corpus pursuant to 28 U. S. C. §2254 in the United States District Court for the Western District of Texas. His claims were again rejected, both by the District Court, Panetti v. Johnson, Cause No. A-99-CV-260-SS (2001), and the Court of Appeals for the Fifth Circuit, Panetti v. Cockrell, 73 Fed. Appx. 78 (2003) (judgt. order), and we again denied a petition for certiorari, Panetti v. Dretke, 540 U. S. 1052 (2003). Among the issues petitioner raised in the course of these state and federal proceedings was his competency to stand trial and to waive counsel. Petitioner did not argue, however, that mental illness rendered him incompetent to be executed.
On October 31, 2003, Judge Stephen B. Abies of the 216th Judicial District Court in Gillespie County, Texas, set petitioner’s execution date for February 5, 2004. See First Order Setting Execution in Cause No. 3310; Order Setting *938Execution in Cause No. 3310. On December 10, 2003, counsel for petitioner filed with Judge Abies a motion under Tex. Code Crim. Proc. Ann., Art. 46.05 (Vernon Supp. Pamphlet 2006). Petitioner claimed, for the first time, that due to mental illness he was incompetent to be executed. The judge denied the motion without a hearing. When petitioner attempted to challenge the ruling, the Texas Court of Criminal Appeals dismissed his appeal for lack of jurisdiction, indicating it has authority to review an Art. 46.05 determination only when a trial court has determined a prisoner is incompetent. Ex parte Panetti, No. 74,868 (Jan. 28, 2004) (per curiam).
Petitioner returned to federal court, where he filed another petition for writ of habeas corpus pursuant to § 2254 and a motion for stay of execution. On February 4, 2004, the District Court stayed petitioner’s execution to “allow the state court a reasonable period of time to consider the evidence of [petitioner’s] current mental state.” Order in Case No. A-04-CA-042-SS, 1 App. 113-114,116.
The state court had before it, at that time, petitioner’s renewed motion to determine competency to be executed (hereinafter Renewed Motion To Determine Competency). Attached to the motion were a letter and a declaration from two individuals, a psychologist and a law professor, who had interviewed petitioner while on death row on February 3, 2004. The new evidence, according to counsel, demonstrated that petitioner did not understand the reasons he was about to be executed.
Due to the absence of a transcript, the state-court proceedings after this point are not altogether clear. The claims raised before this Court nevertheless make it necessary to recount the procedural history in some detail. Based on the docket entries and the parties’ filings it appears the following occurred.
The state trial court ordered the parties to participate in a telephone conference on February 9, 2004, to discuss the *939status of the case. There followed a court directive instructing counsel to submit, by February 20, the names of mental health experts the court should consider appointing pursuant to Art. 46.05(f). See ibid. (“If the trial court determines that the defendant has made a substantial showing of incompetency, the court shall order at least two mental health experts to examine the defendant”). The court also gave the parties until February 20 to submit any motions concerning the competency procedures and advised it would hold another status conference on that same date. Defendant’s Motion to Reconsider in Cause No. 3310, pp. 1-2 (Mar. 4, 2004) (hereinafter Motion to Reconsider).
On February 19, 2004, petitioner filed 10 motions related to the Art. 46.05 proceedings. They included requests for transcription of the proceedings, a competency hearing comporting with the procedural due process requirements set forth in Ford, and funds to hire a mental health expert. See Motion to Transcribe All Proceedings Related to Competency Determination Under Article 46.05 in Cause No. 3310; Motion to Ensure that the Article 46.05 “Final Competency Hearing” Comports with the Procedural Due Process Requirements of Ford in Cause No. 3310; Ex Parte Motion for Prepayment of Funds to Hire Mental Health Expert to Assist Defense in Article 46.05 Proceedings in Cause No. 3310.
On February 20, the court failed to hold its scheduled status conference. Petitioner’s counsel called the courthouse and was advised Judge Abies was out of the office for the day. Counsel then called the Gillespie County District Attorney, who explained that the judge had informed state attorneys earlier that week that he was canceling the conference he had set and would appoint the mental health experts without input from the parties. Motion to Reconsider 2.
On February 23, 2004, counsel for petitioner received an order, dated February 20, advising that the court was appointing two mental health experts pursuant to Art. § 46.05(f). Order in Cause No. 3310, p. 1 (Feb. 26, 2004), 1 *940App. 59. On February 25, at an informal status conference, the court denied two of petitioner’s motions, indicating it would consider the others when the court-appointed mental health experts completed their evaluations. Motion to Reconsider 3. On March 4, petitioner filed a motion explaining that a delayed ruling would render a number of the motions moot. Id., at 1. There is no indication the court responded to this motion.
The court-appointed experts returned with their evaluation on April 28, 2004. Concluding that petitioner “knows that he is to be executed, and that his execution will result in his death,” and, moreover, that he “has the ability to understand the reason he is to be executed,” the experts alleged that petitioner’s uncooperative and bizarre behavior was due to calculated design: “Mr. Panetti deliberately and persistently chose to control and manipulate our interview situation,” they claimed. 1 App. 75. They maintained that petitioner “could answer questions about relevant legal issues ... if he were willing to do so.” Ibid.
The judge sent a letter to counsel, including petitioner’s attorney, Michael C. Gross, dated May 14, 2004. It said:
“Dear Counsel:
“It appears from the evaluations performed by [the court-appointed experts] that they are of the opinion that [petitioner] is competent to be executed in accordance with the standards set out in Art. 46.05 of the Code of Criminal Procedure.
“Mr. Gross, if you have any other matters you wish to have considered, please file them in the case papers and get me copies by 5:00 p.m. on May 21, 2004.” Id., at 77-78.
Petitioner responded with a filing entitled “Objections to Experts’ Report, Renewed Motion for Funds To Hire Mental Health Expert and Investigator, Renewed Motion for Appointment of Counsel, and Motion for Competency Hearing” *941in Cause No. 3310 (May 21, 2004), 1 App. 82-95 (hereinafter Objections to Experts’ Report). In this filing petitioner criticized the methodology and conclusions of the court-appointed experts; asserted his continued need for a mental health expert as his own criticisms of the report were “by necessity limited,” id., at 1; again asked the court to rule on his outstanding motions for funds and appointment of counsel; and requested a competency hearing. Petitioner also argued, as a more general matter, that the process he had received thus far failed to comply with Art. 46.05 and the procedural mandates set by Ford.
The court, in response, closed the case. On May 26, it released a short order identifying the report submitted by the court-appointed experts and explaining that “[b]ased on the aforesaid doctors’ reports, the Court finds that [petitioner] has failed to show, by a preponderance of the evidence, that he is incompetent to be executed.” Order Regarding Competency To Be Executed in Cause No. 3310, 1 App. 99. The order made no mention of petitioner’s motions or other filings. Petitioner did not appeal the ruling to the Court of Criminal Appeals, and he did not petition this Court for certiorari.
This background leads to the matter now before us. Petitioner returned to federal court, seeking resolution of the §2254 petition he had filed on January 26. The District Court granted petitioner’s motions to reconsider, to stay his execution, to appoint counsel, and to provide funds. The court, in addition, set the case for an evidentiary hearing, which included testimony by a psychiatrist, a professor, and two psychologists, all called by petitioner, as well as two psychologists and three correctional officers, called by respondent. See 1 App. 117-135, 362-363; see also id., at 136-336. We describe the substance of the experts’ testimony in more detail later in our opinion.
On September 29,2004, the District Court denied petitioner’s habeas application on the merits. It concluded that the *942state trial court had failed to comply with Art. 46.05; found the state proceedings “constitutionally inadequate” in light of Ford; and reviewed petitioner’s Eighth Amendment claim without deferring to the state court’s finding of competency. Panetti v. Dretke, 401 F. Supp. 2d 702, 706, 705-706 (WD Tex. 2004). The court nevertheless denied relief. It found petitioner had not shown incompetency as defined by Circuit precedent. Id., at 712. “Ultimately,” the court explained, “the Fifth Circuit test for competency to be executed requires the petitioner know no more than the fact of his impending execution and the factual predicate for the execution.” Id., at 711. The Court of Appeals affirmed, Panetti v. Dretke, 448 F. 3d 815 (CA5 2006), and we granted certiorari, 549 U. S. 1106 (2007).
II
We first consider our jurisdiction. The habeas corpus application on review is the second one petitioner has filed in federal court. Under the gatekeeping provisions of 28 U. S. C. § 2244(b)(2), “[a] claim presented in a second or successive habeas corpus application under section 2254 that was not presented in a prior application shall be dismissed” except under certain, narrow circumstances. See §§2244(b)(2)(A)-(B).
The State maintains that, by direction of §2244, the District Court lacked jurisdiction to adjudicate petitioner’s § 2254 application. Its argument is straightforward: “[Petitioner’s] first federal habeas application, which was fully and finally adjudicated on the merits, failed to raise a Ford claim,” and, as a result, “[his] subsequent habeas application, which did raise a Ford claim, was a ‘second or successive’ application” under the terms of § 2244(b)(2). Supplemental Brief for Respondent 1. The State contends, moreover, that any Ford claim brought in an application governed by §2244’s gatekeeping provisions must be dismissed. See Supplemental Brief for Respondent 4-6 (citing §§2244(b)(2)(AMB)).
*943The State acknowledges that Ford-based incompetency claims, as a general matter, are not ripe until after the time has run to file a first federal habeas petition. See Supplemental Brief for Respondent 6. The State nevertheless maintains that its rule would not foreclose prisoners from raising Ford claims. Under Stewart v. Martinez-Villareal, 523 U. S. 637 (1998), the State explains, a federal court is permitted to review a prisoner’s Ford claim once it becomes ripe if the prisoner preserved the claim by filing it in his first federal habeas application. Under the State’s approach a prisoner contemplating a future Ford claim could preserve it by this means.
The State’s argument has some force. The results it would produce, however, show its flaws. As in Martinez-Villareal, if the State’s “interpretation of ‘second or successive’ were correct, the implications for habeas practice would be far reaching and seemingly perverse.” 523 U. S., at 644. A prisoner would be faced with two options: forgo the opportunity to raise a Ford claim in federal court; or raise the claim in a first federal habeas application (which generally must be filed within one year of the relevant state-court ruling), even though it is premature. The dilemma would apply not only to prisoners with mental conditions indicative of incompeteney but also to those with no early sign of mental illness. All prisoners are at risk of deteriorations in their mental state. As a result, conscientious defense attorneys would be obliged to file unripe (and, in many cases, meritless) Ford claims in each and every § 2254 application. This counterintuitive approach would add to the burden imposed on courts, applicants, and the States, with no clear advantage to any.
We conclude there is another reasonable interpretation of §2244, one that does not produce these distortions and inefficiencies.
The phrase “second or successive” is not self-defining. It takes its full meaning from our case law, including decisions *944predating the enactment of the Antiterrorism and Effective Death Penalty Act of 1996 (AEDPA), 110 Stat. 1214. See Slack v. McDaniel, 529 U. S. 473, 486 (2000) (citing Martinez-Villareal, supra); see also Felker v. Turpin, 518 U. S. 651, 664 (1996). The Court has declined to interpret “second or successive” as referring to all § 2254 applications filed second or successively in time, even when the later filings address a state-court judgment already challenged in a prior §2254 application. See, e. g., Slack, 529 U. S., at 487 (concluding that a second §2254 application was not “second or successive” after the petitioner’s first application, which had challenged the same state-court judgment, had been dismissed for failure to exhaust state remedies); see also id., at 486 (indicating that “pre-AEDPA law governed]” the case before it but implying that the Court would reach the same result under AEDPA); see also Martinez-Villareal, supra, at 645.
Our interpretation of § 2244 in Martinez-Villareal is illustrative. There the prisoner filed his first habeas application before his execution date was set. In the first application he asserted, inter alia, that he was incompetent to be executed, citing Ford. The District Court, among other holdings, dismissed the claim as premature; and the Court of Appeals affirmed the ruling. When the State obtained a warrant for the execution, the prisoner filed, for the second time, a habeas application raising the same incompetency claim. The State argued that because the prisoner “already had one ‘fully-litigated habeas petition, the plain meaning of § 2244(b). .. requires his new petition to be treated as successive.’ ” 523 U. S., at 643.
We rejected this contention. While the later filing “may have been the second time that [the prisoner] had asked the federal courts to provide relief on his Ford claim,” the Court declined to accept that there were, as a result, “two separate applications, [with] the second . . . necessarily subject to *945§ 2244(b).” Ibid. The Court instead held that, in light of the particular circumstances presented by a Ford claim, it would treat the two filings as a single application. The petitioner “was entitled to an adjudication of all of the claims presented in his earlier, undoubtedly reviewable, application for federal habeas relief.” 523 U. S., at 643.
Our earlier holding does not resolve the jurisdictional question in the instant ease. Martinez-Villareal did not address the applicability of § 2244(b) “where a prisoner raises a Ford claim for the first time in a petition filed after the federal courts have already rejected the prisoner’s initial habeas application.” Id., at 645, n. Yet the Court’s willingness to look to the “implications for habeas practice” when interpreting §2244 informs the analysis here. Id., at 644. We conclude, in accord with this precedent, that Congress did not intend the provisions of AEDPA addressing “second or successive” petitions to govern a filing in the unusual posture presented here: a §2254 application raising a Ford-based incompetency claim filed as soon as that claim is ripe.
Our conclusion is confirmed when we consider AEDPA’s purposes. The statute’s design is to “further the principles of comity, finality, and federalism.” Miller-El v. Cockrell, 537 U. S. 322, 337 (2003) (internal quotation marks omitted). Cf. Day v. McDonough, 547 U. S. 198, 205-206 (2006) (“The AEDPA statute of limitation promotes judicial efficiency and conservation of judicial resources, safeguards the accuracy of state court judgments by requiring resolution of constitutional questions while the record is fresh, and lends finality to state court judgments within a reasonable time” (internal quotation marks omitted)).
These purposes, and the practical effects of our holdings, should be considered when interpreting AEDPA. This is particularly so when petitioners “run the risk” under the proposed interpretation of “forever losing their opportunity *946for any federal review of their unexhausted claims.” Rhines v. Weber, 544 U. S. 269, 275 (2005). See also Castro v. United States, 540 U. S. 375, 381 (2003). In Rhines “[w]e recognize[d] the gravity of [the] problem” posed when petitioners file applications with only some claims exhausted, as well as “the difficulty [this problem] has posed for petitioners and federal district courts alike.” 544 U. S., at 275, 276. We sought to ensure our “solution to this problem [was] compatible with AEDPÁ’s purposes.” Id., at 276. And in Castro we resisted an interpretation of the statute that would “produce troublesome results,” “create procedural anomalies,” and “close our dóors to a class of habeas petitioners seeking review without any clear indication that such was Congress’ intent.” 540 U. S., at 380, 381. See also Williams v. Taylor, 529 U. S. 420, 437 (2000); Johnson v. United States, 544 U. S. 295, 308-309 (2005); Duncan v. Walker, 533 U. S. 167, 178 (2001); cf. Granberry v. Greer, 481 U. S. 129, 131-134 (1987).
An empty formality requiring prisoners to file unripe Ford claims neither respects the limited legal resources available to the States nor encourages the exhaustion of state remedies. See Duncan, supra, at 178. Instructing prisoners to file premature claims, particularly when many of these claims will not be colorable even at a later date, does not conserve judicial resources, “reducfe] piecemeal litigation,” or “streamlin[e] federal habeas proceedings.” Burton v. Stewart, 549 U. S. 147, 154 (2007) (per curiam) (internal quotation marks omitted). AEDPA’s concern for finality, moreover, is not implicated, for under none of the possible approaches would federal courts be able to resolve a prisoner’s Ford claim before execution is imminent. See Martinez-Villareal, supra, at 644-645 (acknowledging that the District Court was unable to resolve the prisoner’s incompetency claim at the time of his initial habeas filing). And last-minute filings that are frivolous and designed to delay executions can be dismissed in the regular course. The require*947ment of a threshold preliminary showing, for instance, will, as a general matter, be imposed before a stay is granted or the action is allowed to proceed.
There is, in addition, no argument that petitioner’s actions constituted an abuse of the writ, as that concept is explained in our cases. Cf. Felker, 518 U. S., at 664 (“[AEDPA’s] new restrictions on successive petitions constitute a modified res judicata rule, a restraint on what is called in habeas corpus practice ‘abuse of the writ’ ”). To the contrary, we have confirmed that claims of incompetency to be executed remain unripe at early stages of the proceedings. See Martinez-Villareal, 523 U. S., at 644-645; see also ibid, (suggesting that it is therefore appropriate, as a general matter, for a prisoner to wait before seeking resolution of his incompetency claim); Ford, 477 U. S. 399 (remanding the case to the District Court to resolve Ford’s incompetency claim, even though Ford had brought that claim in a second federal habeas petition); Barnard v. Collins, 13 F. 3d 871, 878 (CA5 1994) (“[0]ur research indicates no reported decision in which a federal circuit court or the Supreme Court has denied relief of a petitioner’s competency-to-be-executed claim on grounds of abuse of the writ”). See generally McCleskey v. Zant, 499 U. S. 467, 489-497 (1991).
In the usual case, a petition filed second in time and not otherwise permitted by the terms of § 2244 will not survive AEDPA’s “second or successive” bar. There are, however, exceptions. We are hesitant to construe a statute, implemented to further the principles of comity, finality, and federalism, in a manner that would require unripe (and, often, factually unsupported) claims to be raised as a mere formality, to the benefit of no party.
The statutory bar on “second or successive” applications does not apply to a Ford claim brought in an application filed when the claim is first ripe. Petitioner’s habeas application was properly filed, and the District Court had jurisdiction to adjudicate his claim.
*948III
A
Petitioner claims that the Eighth and Fourteenth Amendments of the Constitution, as elaborated by Ford, entitled him to certain procedures not provided in the state court; that the failure to provide these procedures constituted an unreasonable application of clearly established Supreme Court law; and that under § 2254(d) this misapplication of Ford allows federal-court review of his incompetency claim without deference to the state court’s decision.
We agree with petitioner that no deference is due. The state court’s failure to provide the procedures mandated by Ford constituted an unreasonable application of clearly established law as determined by this Court. It is uncontested that petitioner made a substantial showing of incompetency. This showing entitled him to, among other things, an adequate means by which to submit expert psychiatric evidence in response to the evidence that had been solicited by the state court. And it is clear from the record that the state court reached its competency determination after failing to provide petitioner with this process, notwithstanding counsel’s sustained effort, diligence, and compliance with court orders. As a result of this error, our review of petitioner’s underlying incompetency claim is unencumbered by the deference AEDPA normally requires.
Ford identifies the measures a State must provide when a prisoner alleges incompetency to be executed. The four-justice plurality in Ford concluded as follows:
“Although the condemned prisoner does not enjoy the same presumptions accorded a defendant who has yet to be convicted or sentenced, he has not lost the protection of the Constitution altogether; if the Constitution renders the fact or timing of his execution contingent upon establishment of a further fact, then that fact must be determined with the high regard for truth that befits a *949decision affecting the life or death of a human being. Thus, the ascertainment of a prisoner’s sanity as a predicate to lawful execution calls for no less stringent standards than those demanded in any other aspect of a capital proceeding.” 477 U. S., at 411-412.
Justice Powell’s concurrence, which also addressed the question of procedure, offered a more limited holding. When there is no majority opinion, the narrower holding controls. See Marks v. United States, 430 U. S. 188, 193 (1977). Under this rule Justice Powell’s opinion constitutes “clearly established” law for purposes of § 2254 and sets the minimum procedures a State must provide to a prisoner raising a Ford-based competency claim.
Justice Powell’s opinion states the relevant standard as follows. Once a prisoner seeking a stay of execution has made “a substantial threshold showing of insanity,” the protection afforded by procedural due process includes a “fair hearing” in accord with fundamental fairness. Ford, 477 U. S., at 426, 424 (opinion concurring in part and concurring in judgment) (internal quotation marks omitted). This protection means a prisoner must be accorded an “opportunity to be heard,” id., at 424 (internal quotation marks omitted), though “a constitutionally acceptable procedure may be far less formal than a trial,” id., at 427. As an example of why the state procedures on review in Ford were deficient, Justice Powell explained, the determination of sanity “appeared] to have been made solely on the basis of the examinations performed by state-appointed psychiatrists.” Id., at 424. “Such a procedure invites arbitrariness and error by preventing the affected parties from offering contrary medical evidence or even from explaining the inadequacies of the State’s examinations.” Ibid.
Justice Powell did not set forth “the precise limits that due process imposes in this area.” Id., at 427. He observed that a State “should have substantial leeway to determine what process best balances the various interests at stake” *950once it has met the “basic requirements” required by due process. Ibid. These basic requirements include an opportunity to submit “evidence and argument from the prisoner’s counsel, including expert psychiatric evidence that may differ from the State’s own psychiatric examination.” Ibid.
Petitioner was entitled to these protections once he had made a “substantial threshold showing of insanity.” Id., at 426. He made this showing when he filed his Renewed Motion To Determine Competency — a fact disputed by no party, confirmed by the trial court’s appointment of mental health experts pursuant to Article 46.05(f), and verified by our independent review of the record. The Renewed Motion to Determine Competency included pointed observations made by two experts the day before petitioner’s scheduled execution; and it incorporated, through petitioner’s first Motion To Determine Competency, references to the extensive evidence of mental dysfunction considered in earlier legal proceedings.
In light of this showing, the state court failed to provide petitioner with the minimum process required by Ford.
The state court refused to transcribe its proceedings, notwithstanding the multiple motions petitioner filed requesting this process. To the extent a more complete record may have put some of the court’s actions in a more favorable light, this only constitutes further evidence of the inadequacy of the proceedings. Based on the materials available to this Court, it appears the state court on repeated occasions conveyed information to petitioner’s counsel that turned.out not to be true; provided at least one significant update to the State without providing the same notice to petitioner; and failed in general to keep petitioner informed as to the opportunity, if any, he would have to present his case. There is also a strong argument the court violated state law by failing to provide a competency hearing. See Tex. Code Grim. Proc. Ann., Art. 46.05(k). If this did, in fact, constitute a violation of the procedural framework Texas has mandated for the adjudication of incompetency claims, the violation undermines any reliance the State might now place on Justice *951Powell’s assertion that “the States should have substantial leeway to determine what process best balances the various interests at stake.” Ford, supra, at 427. See also, e. g., Brief for Respondent 16. What is more, the order issued by the state court implied that its determination of petitioner’s competency was made solely on the basis of the examinations performed by the psychiatrists it had appointed — precisely the sort of adjudication Justice Powell warned would “invit[e] arbitrariness and error,” Ford, supra, at 424.
The state court made an additional error, one that Ford makes clear is impermissible under the Constitution: It failed to provide petitioner with an adequate opportunity to submit expert evidence in response to the report filed by the court-appointed experts. The court mailed the experts’ report to both parties in the first week of May. The report, which rejected the factual basis for petitioner’s claim, set forth new allegations suggesting that petitioner’s bizarre behavior was due, at least in part, to deliberate design rather than mental illness. Petitioner’s counsel reached the reasonable conclusion that these allegations warranted a response. See Objections to Experts’ Report 13, and n. 1. On May 14, the court told petitioner’s counsel, by letter, to file “any other matters you wish to have considered” within a week. Petitioner, in response, renewed his motions for an evidentiary hearing, funds to hire a mental health expert, and other relief. He did not submit at that time expert psychiatric evidence to challenge the court-appointed experts’ report, a decision that in context made sense: The court had said it would rule on his outstanding motions, which included a request for funds to hire a mental health expert and a request for an evidentiary hearing, once the court-appointed experts had completed their evaluation. Counsel was justified in relying on this representation by the court.
Texas law, moreover, provides that a court’s finding of ineompeteney will be made on the basis of, inter alia, a “final competency hearing.” Tex. Code Crim. Proc. Ann., Art. 46.05(k); see also Ex parte Caldwell, 58 S. W. 3d 127, 129, *952130 (Tex. Crim. App. 2000) (confirming that the “legislature codified the dictates of Ford by enacting [the precursor to Art. 46.05]” and indicating that “[t]he determination of whether to appoint experts and conduct a hearing is within the discretion of the trial court” before a petitioner has made a substantial showing of incompetency). Had the court advised counsel it would resolve the case without first ruling on petitioner’s motions and without holding a competency hearing, petitioner’s counsel might have managed to procure the assistance of experts, as he had been able to do on a pro bono basis the day before petitioner’s previously scheduled execution. It was, in any event, reasonable for counsel to refrain from procuring and submitting expert psychiatric evidence while waiting for the court to rule on the timely filed motions, all in reliance on the court’s assurances.
But at this point the court simply ended the matter.
The state court failed to provide petitioner with a constitutionally adequate opportunity to be heard. After a prisoner has made the requisite threshold showing, Ford requires, at a minimum, that a court allow a prisoner’s counsel the opportunity to make an adequate response to evidence solicited by the state court. See 477 U. S., at 424, 427. In petitioner’s case this meant an opportunity to submit psychiatric evidence as a counterweight to the report filed by the court-appointed experts. Id., at 424. Yet petitioner failed to receive even this rudimentary process.
In light of this error we need not address whether other procedures, such as the opportunity for discovery or for the cross-examination of witnesses, would in some cases be required under the Due Process Clause. As Ford makes clear, the procedural deficiencies already identified constituted a violation of petitioner’s federal rights.
B
The state court’s denial of certain of petitioner’s motions rests on an implicit finding: that the procedures it provided *953were adequate to resolve the competency claim. In light of the procedural history we have described, however, this determination cannot be reconciled with any reasonable application of the controlling standard in Ford.
That the standard is stated in general terms does not mean the application was reasonable. AEDPA does not “require state and federal courts to wait for some nearly identical factual pattern before a legal rule must be applied.” Carey v. Musladin, 549 U. S. 70, 81 (2006) (Kennedy, J., concurring in judgment). Nor does AEDPA prohibit a federal court from finding an application of a principle unreasonable when it involves a set of facts “different from those of the case in which the principle was announced.” Lockyer v. Andrade, 538 U. S. 63, 76 (2003). The statute recognizes, to the contrary, that even a general standard may be applied in an unreasonable manner. See, e. g., Williams v. Taylor, 529 U. S. 362 (finding a state-court decision both contrary to and involving an unreasonable application of the standard set forth in Strickland v. Washington, 466 U. S. 668 (1984)). These principles guide a reviewing court that is faced, as we are here, with a record that cannot, under any reasonable interpretation of the controlling legal standard, support a certain legal ruling.
Under AEDPA, a federal court may grant habeas relief, as relevant, only if the state court’s “adjudication of [a claim on the merits]... resulted in a decision that... involved an unreasonable application” of the relevant law. When a state court’s adjudication of a claim is dependent on an antecedent unreasonable application of federal law, the requirement set forth in § 2254(d)(1) is satisfied. A federal court must then resolve the claim without the deference AEDPA otherwise requires. See Wiggins v. Smith, 539 U. S. 510, 534 (2003) (performing the analysis required under Strickland’s second prong without deferring to the state court’s decision because the state court’s resolution of Strickland’s first prong involved an unreasonable application of law); 539 U. S., at 527-*954529 (confirming that the state court’s ultimate decision to reject the prisoner’s ineffective-assistance-of-counsel claim was based on the first prong and not the second). See also Williams, supra, at 395-397; Early v. Packer, 537 U. S. 3, 8 (2002) (per curiam) (indicating that § 2254 does not preclude relief if either “the reasoning [or] the result of the statercourt decision contradicts [our cases]”). Here, due to the state court’s unreasonable application of Ford, the factfinding procedures upon which the court relied were “not adequate for reaching reasonably correct results” or, at a minimum, resulted in a process that appeared to be “seriously inadequate for the ascertainment of the truth.” 477 U. S., at 423-424 (Powell, J., concurring in part and concurring in judgment) (internal quotation marks omitted). We therefore consider petitioner’s claim on the merits and without deferring to the state court’s finding of competency.
IV
A
This brings us to the question petitioner asks the Court to resolve: whether the Eighth Amendment permits the execution of a prisoner whose mental illness deprives him of “the mental capacity to understand that [he] is being executed as a punishment for a crime.” Brief for Petitioner 31.
A review of the expert testimony helps frame the issue. Four expert witnesses testified on petitioner’s behalf in the District Court proceedings. One explained that petitioner’s mental problems are indicative of “schizo-affective disorder,” 1 App. 143, resulting in a “genuine delusion” involving his understanding of the reason for his execution, id., at 157. According to the expert, this delusion has recast petitioner’s execution as “part of spiritual warfare . . . between the demons and the forces of the darkness and God and the angels and the forces of light.” Id., at 149. As a result, the expert explained, although petitioner claims to understand “that the state is saying that [it wishes] to execute him for *955[his] murder[s],” he believes in earnest that the stated reason is a “sham” and the State in truth wants to execute him “to stop him from preaching.” Ibid. Petitioner’s other expert witnesses reached similar conclusions concerning the strength and sincerity of this “fixed delusion.” Id., at 203; see also id., at 202, 231-232, 333.
While the State’s expert witnesses resisted the conclusion that petitioner’s stated beliefs were necessarily indicative of incompetency, see id., at 240, 247, 304, particularly in light of his perceived ability to understand certain concepts and, at times, to be “clear and lucid,” id., at 243; see also id., at 244, 304, 312, they acknowledged evidence of mental problems, see id., at 239, 245, 308. Petitioner’s rebuttal witness attempted to reconcile the experts’ testimony:
“Well, first, you have to understand that when somebody is schizophrenic, it doesn’t diminish their cognitive ability. . . . Instead, you have a situation where — and why we call schizophrenia thought disorder[ — ]the logical integration and reality connection of their thoughts are disrupted, so the stimulus comes in, and instead of being analyzed and processed in a rational, logical, linear sort of way, it gets scrambled up and it comes out in a tangential, circumstantial, symbolic . . . not really relevant kind of way. That’s the essence of somebody being schizophrenic____Now, it may be that if they’re dealing with someone who’s more familiar ... [in] what may feel like a safer, more enclosed environment... those sorts of interactions may be reasonably lucid whereas a more extended conversation about more loaded material would reflect the severity of his mental illness.” Id., at 328-329.
See also id., at 203 (suggesting that an unmedicated individual suffering from schizophrenia can “at times” hold an ordinary conversation and that “it depends [whether the discussion concerns the individual’s] fixed delusional system”). *956There is, in short, much in the record to support the conclusion that petitioner suffers from severe delusions. See, e. g., id., at 157, 149, 202-203, 231-232, 328-329, 333; see generally id., at 136-353.
The legal inquiry concerns whether these delusions can be said to render him incompetent. The Court of Appeals held that they could not. That holding, we conclude, rests on a flawed interpretation of Ford.
The Court of Appeals stated that competency is determined by whether a prisoner is aware “ ‘that he [is] going to be executed and why he [is] going to be executed,’ ” 448 F. 3d, at 819 (quoting Barnard, 13 F. 3d, at 877); see also 448 F. 3d, at 818 (discussing Ford, 477 U. S., at 421-422 (Powell, J., concurring in part and concurring in judgment)). To this end, the Court of Appeals identified the relevant District Court findings as follows: First, petitioner is aware that he committed the murders; second, he is aware that he will be executed; and,.third, he is aware that the reason the State has given for the execution is his commission of the crimes in question. 448 F. 3d, at 817. Under Circuit precedent this ends the analysis as a matter of law; for the Court of Appeals regards these three factual findings as necessarily demonstrating that a prisoner is aware of the reason for his execution.
The Court of Appeals concluded that its standard foreclosed petitioner from establishing incompetency by the means he now seeks to employ: a showing that his mental illness obstructs a rational understanding of the State’s reason for his execution. Id., at 817-818. As the court explained, “[b]ecause we hold that ‘awareness,’ as that term is used in Ford, is not necessarily synonymous with ‘rational understanding,’ as argued by [petitioner,] we conclude that the district court’s findings are sufficient to establish that [petitioner] is competent to be executed.” Id., at 821.
In our view the Court of Appeals’ standard is too restrictive to afford a prisoner the protections granted by the *957Eighth Amendment. The opinions in Ford, it must be acknowledged, did not set forth a precise standard for competency. The four-Justice plurality discussed the substantive standard at a high level of generality; and Justice Powell wrote only for himself when he articulated more specific criteria. Yet in the portion of Justice Marshall’s discussion constituting the opinion of the Court (the portion Justice Powell joined) the majority did reach the express conclusion that the Constitution “places a substantive restriction on the State’s power to take the life of an insane prisoner.” 477 U. S., at 405. The Court stated the foundation for this principle as follows:
“[Tjoday, no less than before, we may seriously question the retributive value of executing a person who has no comprehension of why he has been singled out and stripped of his fundamental right to life. . . . Similarly, the natural abhorrence civilized societies feel at killing one who has no capacity to come to grips with his own conscience or deity is still vivid today. And the intuition that such an execution simply offends humanity is evidently shared across this Nation. Faced with such widespread evidence of a restriction upon sovereign power, this Court is compelled to conclude that the Eighth Amendment prohibits a State from carrying out a sentence of death upon a prisoner who is insane.” Id., at 409-410.
Writing for four Justices, Justice Marshall concluded by indicating that the Eighth Amendment prohibits execution of “one whose mental illness prevents him from comprehending the reasons for the penalty or its implications.” Id., at 417. Justice Powell, in his separate opinion, asserted that the Eighth Amendment “forbids the execution only of those who are unaware of the punishment they are about to suffer and why they are to suffer it.” Id., at 422.
*958The Court of Appeals’ standard treats a prisoner’s delusional belief system as irrelevant if the prisoner knows that the State has identified his crimes as the reason for his execution. See 401 F. Supp. 2d, at 712 (indicating that under Circuit precedent “a petitioner’s delusional beliefs — even those which may result in a fundamental failure to appreciate the connection between the petitioner’s crime and his execution — do not bear on the question of whether the petitioner ‘knows the reason for his execution’ for the purposes of the Eighth Amendment”); see also id., at 711-712. Yet the Ford opinions nowhere indicate that delusions are irrelevant to “comprehension]” or “aware[ness]” if they so impair the prisoner’s concept of reality that he cannot reach a rational understanding of the reason for the execution. If anything, the Ford majority suggests the opposite.
Explaining the prohibition against executing a prisoner who has lost his sanity, Justice Marshall in the controlling portion of his opinion set forth various rationales, including recognition that “the execution of an insane person simply offends humanity,” 477 U. S., at 407; that it “provides no example to others,” ibid.; that “it is uncharitable to dispatch an offender into another world, when he is not of a capacity to fit himself for it,” ibid, (internal quotation marks omitted); that “madness is its own punishment,” ibid.; and that executing an insane person serves no retributive purpose, id., at 408.
Considering the last — whether retribution is served — it might be said that capital punishment is imposed because it has the potential to make the offender recognize at last the gravity of his crime and to allow the community as a whole, including the surviving family and friends of the victim, to affirm its own judgment that the culpability of the prisoner is so serious that the ultimate penalty must be sought and imposed. The potential for a prisoner’s recognition of the severity of the offense and the objective of community vindication are called in question, however, if the prisoner's men*959tal state is so distorted by a mental illness that his awareness of the crime and punishment has little or no relation to the understanding of those concepts shared by the community as a whole. This problem is not necessarily overcome once the test set forth by the Court of Appeals is met. And under a similar logic the other rationales set forth by Ford fail to align with the distinctions drawn by the Court of Appeals.
Whether Ford’s inquiry into competency is formulated as a question of the prisoner’s ability to “comprehen[d] the reasons” for his punishment or as a determination into whether he is “unaware of . . . why [he is] to suffer it,” then, the approach taken by the Court of Appeals is inconsistent with Ford. The principles set forth in Ford are put at risk by a rule that deems delusions relevant only with respect to the State’s announced reason for a punishment or the fact of an imminent execution, see 448 F. 3d, at 819, 821, as opposed to the real interests the State seeks to vindicate. We likewise find no support elsewhere in Ford, including in its discussions of the common law and the state standards, for the proposition that a prisoner is automatically foreclosed from demonstrating incompetency once a court has found he can identify the stated reason for his execution. A prisoner’s awareness of the State’s rationale for an execution is not the same as a rational understanding of it. Ford does not foreclose inquiry into the latter.
This is not to deny the fact that a concept like rational understanding is difficult to define. And we must not ignore the concern that some prisoners, whose cases are not implicated by this decision, will fail to understand why they are to be punished on account of reasons other than those stemming from a severe mental illness. The mental state requisite for competence to suffer capital punishment neither presumes nor requires a person who would be considered “normal,” or even “rational,” in a layperson’s understanding of those terms. Someone who is condemned to death for an *960atrocious murder may be so callous as to be unrepentant; so self-centered and devoid of compassion as to lack all sense of guilt; so adept in transferring blame to others as to be considered, at least in the colloquial sense, to be out of touch with reality. Those states of mind, even if extreme compared to the criminal population at large, are not what petitioner contends lie at the threshold of a competence inquiry. The beginning of doubt about competence in a case like petitioner’s is not a misanthropic personality or an amoral character. It is a psychotic disorder.
Petitioner’s submission is that he suffers from a severe, documented mental illness that is the source of gross delusions preventing him from comprehending the meaning and purpose of the punishment to which he has been sentenced. This argument, we hold, should have been considered.
The flaws of the Court of Appeals’ test are pronounced in petitioner’s case. Circuit precedent required the District Court to disregard evidence of psychological dysfunction that, in the words of the judge, may have resulted in petitioner’s “fundamental failure to appreciate the connection between the petitioner’s crime and his execution.” 401 F. Supp. 2d, at 712. To refuse to consider evidence of this nature is to mistake Ford’s holding and its logic. Gross delusions stemming from a severe mental disorder may put an-awareness of a link between a crime and its punishment in a context so far removed from reality that the punishment can serve no proper purpose. It is therefore error to derive from Ford, and the substantive standard for incompetency its opinions broadly identify, a strict test for competency that treats delusional beliefs as irrelevant once the prisoner is aware the State has identified the link between his crime and the punishment to be inflicted.
B
Although we reject the standard followed by the Court of Appeals, we do not attempt to set down a rule governing all *961competency determinations. The record is not as informative as it might be, even on the narrower issue of how a mental illness of the sort alleged by petitioner might affect this analysis. In overseeing the development of the record and in making its factual findings, the District Court found itself bound to analyze the question of competency in the terms set by Circuit precedent. It acknowledged, for example, the “difficult issue” posed by the delusions allegedly interfering with petitioner’s understanding of the reason behind his execution, 401 F. Supp. 2d, at 712, but it refrained from making definitive findings of fact with respect to these matters, see id., at 709. See also id., at 712 (identifying testimony by Dr. Mark Cunningham indicating that petitioner “believes the State is in league with the forces of evil that have conspired against him” and, as a result, “does not even understand that the State of Texas is a lawfully constituted authority,” but refraining from setting forth definitive findings of fact concerning whether this was an accurate characterization of petitioner’s mindset).
The District Court declined to consider the significance those findings might have on the ultimate question of competency under the Eighth Amendment. See ibid, (disregarding Dr. Cunningham’s testimony in light of Circuit precedent). And notwithstanding the numerous questions the District Court asked of the witnesses, see, e. g., 1 App. 191-197, 216-218, 234-237, 321-323, it did not press the experts on the difficult issue it identified in its opinion, see ibid. The District Court, of course, was bound by Circuit precedent, and the record was developed pursuant to a standard we have found to be improper. As a result, we find it difficult to amplify our conclusions or to make them more precise. We are also hesitant to decide a question of this complexity before the District Court and the Court of Appeals have addressed, in a more definitive manner and in light of the expert evidence found to be probative, the nature and severity of petitioner’s alleged mental problems.
*962The underpinnings of petitioner’s claims should be explained and evaluated in further detail on remand. The conclusions of physicians, psychiatrists, and other experts in the field will bear upon the proper analysis. Expert evidence may clarify the extent to which severe delusions may render a subject’s perception of reality so distorted that he should be deemed incompetent. Cf. Brief for American Psychological Association et al. as Amici Curiae 17-19 (discussing the ways in which mental health experts can inform competency determinations). And there is precedent to guide a court conducting Eighth Amendment analysis. See, e. g., Roper v. Simmons, 543 U. S. 551, 560-564 (2005); Atkins v. Virginia, 536 U. S. 304, 311-314 (2002); Ford, 477 U. S., at 406-410.
It is proper to allow the court charged with overseeing the development of the evidentiary record in this case the initial opportunity to resolve petitioner’s constitutional claim. These issues may be resolved in the first instance by the District Court.
* * *
The judgment of the Court of Appeals is reversed, and the case is remanded for further proceedings consistent with this opinion.

It is so ordered.

